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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                      Chapter 11

LORDSTOWN MOTORS CORP., et al.,1                            Case No. 23-10831 (MFW)

                        Debtors.                            (Jointly Administered)

                                                            Obj. Deadline: March 5, 2024 at 4:00 p.m. (ET)

          NOTICE OF FOURTH MONTHLY APPLICATION OF MORRIS JAMES LLP,
              AS DELAWARE COUNSEL TO THE OFFICIAL COMMITTEE OF
           EQUITY SECURITY HOLDERS, FOR ALLOWANCE OF COMPENSATION
             AND REIMBURSEMENT OF EXPENSES FOR THE PERIOD FROM
                   DECEMBER 1, 2023 THROUGH DECEMBER 31, 2023

       PLEASE TAKE NOTICE that on February 14, 2024, Morris James LLP (“Morris
James”), filed its Fourth Monthly Application (the “Application”) seeking compensation for
services rendered and reimbursement of expenses incurred as Delaware Counsel to the Official
Committee of Equity Security Holders appointed in the above-referenced bankruptcy case (the
“Committee”) for the period from December 1, 2023 through December 31, 2023 (the
“Compensation Period”).

        If you object to the relief sought by the Application, you are required to file a response to
the Application, on or before March 5, 2024 at 4:00 p.m. (ET). At the same time, you must also
serve a copy of the response upon Committee’s counsel:

    BROWN RUDNICK LLP                                      MORRIS JAMES LLP
    Robert J. Stark, Esquire                               Eric J. Monzo, Esquire
    Bennett S. Silverberg, Esquire                         Brya M. Keilson, Esquire
    7 Times Square                                         500 Delaware Avenue, Suite 1500
    New York, NY 10036                                     Wilmington, DE 19801
    Telephone: (212) 209-4800                              Telephone: (302) 888-6800
    Facsimile: (212) 209-4801                              Facsimile: (302) 571-1750
    E-mail: rstark@brownrudnick.com                        E-mail: emonzo@morrisjames.com
    E-mail: bsilverberg@brownrudnick.com                   E-mail: bkeilson@morrisjames.com

    and

    Matthew A. Sawyer, Esquire
    One Financial Center
    Boston, MA 02111
    Telephone: (617) 856-8200
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    E-mail: msawyer@brownrudnick.com

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 The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors Corp.
(3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address is
27000 Hills Tech Ct., Farmington Hills, MI 48331.

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     PLEASE TAKE FURTHER NOTICE THAT IF NO OBJECTIONS ARE FILED
AND SERVED IN ACCORDANCE WITH THE ABOVE PROCEDURES, THEN 80% OF
FEES AND 100% OF THE EXPENSES REQUESTED IN THE APPLICATION MAY BE
PAID PURSUANT TO THE INTERIM COMPENSATION ORDER WITHOUT
FURTHER HEARING OR ORDER OF THE COURT.

    IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE
COURT MAY GRANT THE RELIEF DEMANDED BY THE APPLICATION WITHOUT
FURTHER NOTICE OR HEARING.

Dated: February 14, 2024                     /s/ Eric J. Monzo
                                             Eric J. Monzo (DE Bar No. 5214)




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